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Attorneys for Plaintiffs


                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,

       v.                                      DECLARATION OF CHARLES H.
                                               KUCK IN SUPPORT OF PLAINTIFFS’
                                               MOTION FOR PRELIMINARY
                                               INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.



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FOR PRELIMINRY INJUNCTION
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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF OREGON

                             PORTLAND DIVISION

________________________________________
                                       )           Case No.: 3:19-cv-01743-SB
 John Doe, et. al.,                    )           Declaration of Charles H.
                                       )           Kuck
       Plaintiffs,                     )
                                       )
 v.                                    )
 Donald Trump, et al.,                 )
                                       )
       Defendants.                     )
 _____________________________________ )




                    DECLARATION OF CHARLES H. KUCK




           I, Charles H. Kuck, being an adult of sound mind and body, hereby declare
     under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true
     and correct:


        1. My name is Charles H. Kuck. I am an attorney licensed in the State of

     Georgia. I have been practicing immigration law for more than 30 years. I am the

     Managing Partner of Kuck Immigration Partners. I am a former national

     president of the American Immigration Lawyers Association (AILA), and the past

     president of the Alliance of Business Immigration Lawyers (ABIL). I have

     extensive experience in meetings, both public and private with the Department of


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     FOR A PRELIMINARY INJUNCTION
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State’s Consular Process. I am personally familiar with, and knowledgeable of, the

method by which the Department of State treats visa applicants, analyzed

immigrant visa eligibility and determines inadmissibility.

    2. I have represented a number of applicants who, in the course of the last

two years have been denied an immigrant visa at a consulate for reasons related to

prior alien smuggling, public charge, and prior immigration misrepresentations.

In each of these situations, prior to leaving the United States, the applicant had

obtained approval an of a Form I-601A, wavier of inadmissibility for unlawful

presence.

   3. In each of these cases, when the consular official denied the immigrant visa

for other reasons, the previously approved waiver of inadmissibility was

cancelled, and the client had to reapply for that waiver, and apply for a waiver of

the additional ground of inadmissibility found by the consulate. The client was

not allowed to re-enter the United States and had to remain in the foreign country,

separated from their family in the U.S. throughout this process.

    4. In the case of denials for the public charge ground of inadmissibility, 8

USC 1182(a)(4)(A), the consular official remained unsatisfied with the additional

sources of support and affiants to additional Affidavits of Support, resulting in a

consular denial of indefinite duration. Again, the client was not allowed to re-

enter the United States and had to remain in the foreign country, separated from

their family in the U.S. throughout this process.

   5. Moreover, the reconsideration process is extremely complex to navigate


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even for the most seasoned attorneys. It requires multiple emails, phone calls,

and letters to try and navigate the consular offices. Indeed, each Consulate has

its own set of rules.

   6. It is clear, that should an individual be denied for a failure to obtain health

insurance, under the “new” policy, that any waiver obtain prior to removal will be

cancelled, and will result in significant, if not permanent, delay in returning to

the United States under the approved immigrant visa.

   7. The idea that the refusal of an immigrant visa at the interview and the

subsequent opportunity for additional information through “visa

reconsideration” is timely and would not harm the applicant is simply false. Even

in those cases in which individuals have overcome initial “public charge” grounds

of inadmissibility, consular reconsideration has taken months, and in one case

almost 10 months, prior to the grant of the immigrant visa stamp and reentry

into the United States.

   8. These extraordinary and unnecessary delays result in extreme family

suffering and hardship, loss of income (in many cases the primary source of

income), and the need for US family to use government assistance.




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                                   Verification


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
  foregoing is true and correct. Executed on November 6,   2019,




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MOTION FOR A PRELIMINARY INJUNCTION
